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12
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14
                           UNITED STATES DISTRICT COURT
15
16                        CENTRAL DISTRICT OF CALIFORNIA
17
                                       WESTERN DIVISION
18
19     RICHARD R. FINCH, an individual,           Case No.: 2:21-cv-08032
20
                          Plaintiff,              COMPLAINT FOR:
21
       v.
22                                                     (1) DECLARATORY RELIEF; AND
       EMI CONSORTIUM SONGS, INC., a
23                                                     (2) INJUNCTIVE RELIEF
       New York corporation d/b/a EMI
24     Longitude Music,
25
             Defendant.
26
27
28
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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 1    Plaintiff RICHARD R. FINCH alleges as follows:
 2
 3                                                I
 4                                       JURISDICTION
 5          1.     This court has subject matter jurisdiction over this action because it
 6    arises under the laws of the United States, 28 U.S.C. § 1331, and more particularly,
 7    because it arises under an Act of Congress relating to copyrights, 28 U.S.C. § 1338,
 8    namely, the Copyright Act of 1976, as amended, 17 U.S.C. § 101 et seq.
 9          2.     This Court has personal jurisdiction over defendant because it has
10    sufficient contacts with California such that jurisdiction can be exercised over it
11    consistent with the Due Process Clause of the U.S. Constitution. Defendant has
12    purposefully conducted activities within California and has availed itself of the
13    privileges and benefits of conducting those activities within California in a
14    continuous and systematic way (including having a corporate office here and
15    registering to do business in California with the California Secretary of State) such
16    that it should reasonably anticipate being sued in California.
17          3.     This Court is empowered to issue a declaratory judgment and further
18    necessary or proper relief pursuant to 28 U.S.C. §§2201 and 2202.
19
20                                                II
21                                            VENUE
22          4.     Venue is proper in this district pursuant to 28 U.S.C. § 1400(a), in that
23    all of defendants or their agents reside or may be found in this district.
24          5.     Venue is also proper in this district pursuant to 28 U.S.C. § 1391(b) in
25    that either: (1) one or more defendants reside in this district, and all defendants reside
26    in this state; (2) a substantial part of the events or omissions giving rise to the claim
27    occurred in this district; or (3) at least one defendant resides in this district, if there
28    is no district in which the action may otherwise be brought.
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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 1
 2                                              III
 3                                            PARTIES
 4          6.     Plaintiff RICHARD R. FINCH (“Finch”) is an individual residing in
 5    Newark, Ohio. Finch is a songwriter, musician, record producer, and sound engineer.
 6    Finch also operates a music publishing company called Richard Finch Publishing,
 7    which has its principal place of business in Palo Alto, California.
 8          7.     Defendant EMI CONSORTIUM SONGS, INC. (“EMI” or “defendant”)
 9    is a New York corporation, which has a substantial corporate office at 10202 West
10    Washington Boulevard, Akio Morita Building, 5th Floor, Culver City, California
11    90232, within this judicial district.
12
13                                              IV
14                                FACTUAL BACKGROUND
15          8.     Since the first Copyright Act was enacted in 1790, that Act, and the
16    several successive copyright statutes have always had a feature which allows a
17    second chance for authors (or their heirs) to reclaim copyrights from unwise grants
18    made by authors early on in their careers, close to the creation of the works. While
19    the particular features of those laws, and the length of the terms and statutory scheme
20    of the terminations involved, have changed and evolved, the strong “second chance”
21    concept has remained. In fact, the very first act, the Copyright Act of 1790, borrowed
22    that concept from the English Statute of Anne, enacted in 1709, the first copyright
23    law. The theme continued in the Copyright Acts of 1831, 1870, and 1909.
24          9.     Likewise, §203 of the Copyright Act of 1976 modified the Act of 1909
25    substantially but continued the “second chance” policy with full force. According to
26    the Congressional Record, the purpose of the statute was to protect authors and their
27    heirs from “the unequal bargaining position of authors” in dealing with unpublished
28    works, because of “the impossibility of [an author] determining [his or her] work’s
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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 1    prior value until it has been exploited.” H.R.Rep. No. 94-1476, at 124 (1976). Section
 2    203 provides that authors (a term that includes both songwriters and recording artists)
 3    may terminate grants of copyright ownership thirty-five (35) years after the initial
 4    grant, generally computed from the date of the publication of those works subject to
 5    the grant. In the case of assignment of rights in works that have already been
 6    published, the statute provides that any such grants may be terminated on a date that
 7    is thirty-five (35) years from the execution of the grant.
 8          10.    This    case   involves    approximately        ninety-nine   (99)   musical
 9    compositions (the “Compositions”) co-written by Finch and Harry Wayne Casey
10    (“Casey”) in the 1970s, while they were the founding members of the very successful
11    musical group KC & The Sunshine Band, including all of their “hit” recordings from
12    approximately 1973 to 1979. Among the Compositions are classic “disco” titles such
13    as “That’s the Way I Like It,” “Shake Shake Shake Shake Your Booty,” “Please
14    Don’t Go,” “Keep It Comin’ Love,” “I’m Your Boogie Man,” “Get Down Tonight,”
15    as well as “Rock Your Baby,” as performed by George McCrae.
16          11.    There is no factual issue that Finch and Casey are the sole co-writers of
17    the Compositions; the copyrights in and to the Compositions were all duly registered
18    in the United States Copyright Office in the 1970s, with virtually all of the
19    registrations listing Finch and Casey as the sole authors, and the Compositions were
20    registered near to the time that they were published. In or about 1976, Finch and
21    Casey formed a music publishing company, Harrick Music, Inc. (“Harrick”), which
22    published the Compositions. At various times from approximately 1973 to 1979,
23    Harrick entered into a series of single-song co-publishing agreements with a
24    company called Sherlyn Music Publishing, Inc. (“Sherlyn”), and that company
25    controlled the entire copyrights in and to the Compositions, during that time period.
26          12.    In or about 1982, however, disputes and disagreements arose between
27    Finch and Casey, and KC & The Sunshine Band (that is, the version including Finch
28    and Casey) no longer performed together. In addition, on or about October 27, 1983,
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 1    Finch agreed to assign all of his rights in and to the Compositions to Casey, by means
 2    of a one-page document entitled “Intangibles Assignments” (the “1983
 3    Assignment”). A true and correct copy of the 1983 Assignment is attached hereto as
 4    Exhibit A.
 5          13.    In the 1983 Assignment, Finch agreed to assign not only his portion of
 6    the copyrights in and to the Compositions, but also his “writer’s royalty interest and
 7    other royalty interest or intangible property rights with respect to or in connection
 8    with music which is or was individually owned by the Assignor… .” Finch also
 9    agreed to give up any interest he had in Harrick, and, specifically, any copyright
10    interests that he had in the Compositions that were owned by Harrick.
11          14.    Since that time, in 1983, Finch has received nothing from the United
12    States exploitation of this large catalogue of world-famous and celebrated “disco”
13    hits; all such monies (including monies paid by Broadcast Music, Inc. (“BMI’) for
14    United States public performances) have been uniformly paid to Casey (in the case
15    of the BMI “writer’s share,” for example, to the complete exclusion of Finch), and/or
16    Casey’s assignees, such as Sherlyn and its assignees.
17          15.    On or about August 31, 1988, Sherlyn assigned all its right, title, and
18    interest in and to the Compositions to a company called Windswept Pacific Music
19    Publishing (“Windswept”). Thereafter, in July 1999, Windswept sold its assets to
20    EMI Music Publishing, a predecessor of EMI. EMI is the “grantee’s successor in
21    title” of the United States copyrights in and to the Compositions, as that term is used
22    in 37 CFR § 201.10(d), and EMI is the correct recipient of a Notice of Termination
23    served pursuant to §203 of the Copyright Act.
24          16.    In 1985 and 2004, Finch attempted to have the 1983 Assignment set
25    aside on the grounds of fraud and incapacity. Finch was not successful. However, at
26    no time in the resolution of those two matters did Finch agree to any sort of novation
27    of the assignment set forth in the 1983 Assignment.
28
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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 1             17.   This 1983 Assignment to Casey is exactly the sort of transaction that
 2    may be terminated by the service of a Notice of Termination under §203 of the
 3    Copyright Act. Finch made an unwise transaction in 1983, and, when the time came
 4    for Finch to have the opportunity terminate that transfer pursuant to federal law, he
 5    did exactly that.
 6             18.   On September 30, 2019, Finch served a Notice of Termination (the
 7    “Notice”) upon EMI, and, thereafter, caused the Notice to be recorded in the United
 8    States Copyright Office, on December 2, 2019, as document V9969 D353, P1
 9    through P7. A true and correct copy of the Notice is attached hereto as Exhibit B.
10    The effective date of termination for all the Compositions was October 1, 2021, and
11    EMI has continued to exploit the Compositions after October 1, 2021, as if the Notice
12    had not been served on September 30, 2019, and EMI is still exploiting the
13    Compositions as of the filing of this suit. Finch is informed and believes, and thereon
14    alleges, that at the time that Finch served the Notice, EMI was the sole owner of the
15    United States copyright in and to each of the Compositions, subject to Finch’s
16    termination of a portion of those rights as of October 1, 2021.
17
18                                                V
19                                 CLAIM FOR RELIEF FOR
20                   DECLARATORY RELIEF AND INJUCTIVE RELIEF
21                                   (Against All Defendants)
22             19.   Plaintiffs reallege paragraphs 1 through 18, inclusive, as if fully set
23    forth.
24             20.   As of October 1, 2021, Finch is the co-owner of fifty percent (50%) of
25    the United States copyright in and to the Compositions, and has the right to exploit
26    his portion of the copyrights in and to the Compositions, or allow designees,
27    administrators, or licensees to do so, as he sees fit.
28             21.   Despite having full knowledge that the effective date of termination had
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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 1    passed, EMI continues to exploit the entirety of the Compositions, as if the Notice
 2    had not been sent at all, in complete and willful disregard of the law.
 3          22.    Pursuant to 28 U.S.C. §§ 2201 & 2202, a case of actual controversy
 4    within the jurisdiction of this court has arisen and now exists between Finch on the
 5    one hand, and EMI, on the other hand, concerning their respective rights and duties
 6    as to Finch’s interests in and to the Compositions, in that Finch contends that:
 7                  (a) The 1983 Assignment is fully subject to termination pursuant to
 8                       §203 of the Copyright Act, and Finch duly complied with that
 9                       statute and its attendant regulations in his service of a Notice of
10                       Termination on EMI, the current grantee of the rights and
11                       interests set forth in the Assignment. Finch is, therefore, the
12                       owner of a fifty percent (50%) interest in the United States
13                       copyright in each of the Compositions and may exploit those
14                       interests as he sees fit.
15                  (b) The grant set forth in the 1983 Assignment may be terminated
16                       notwithstanding any agreement to the contrary, or any state court
17                       judgment relating to, or upholding the terms of, the 1983
18                       Assignment. Neither the grant, nor any part of it relating to works
19                       subject to the Copyright, exists as of October 1, 2021, so a state-
20                       law attempt to enforce the grant set forth in the 1983 Assignment
21                       despite termination pursuant to §203 of the Copyright Act would
22                       be a violation of both the Supremacy Clause of the United States
23                       Constitution and § 203(a)(5) of the Copyright Act, which
24                       provides that no author shall be deprived of his or her termination
25                       right, and states, explicitly: “Termination of the grant may be
26                       effected notwithstanding any agreement to the contrary.” In
27                       addition, to hold that state law is superior to the federal law of
28                       copyright, and Congress’ intention to guarantee a “second
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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 1                        chance” to authors to terminate unwise grants, would be a
 2                        violation of the Supremacy Clause of the United States
 3                        Constitution.
 4    Finch is informed and believes, and thereon alleges, that EMI contends that:
 5                 (a)    Finch does not have the right to serve a Notice of Termination
 6                        upon EMI; and
 7                 (b)    Finch, who has received no United States royalties since 1983 for
 8                        his co-authorship of the Compositions, is entitled to exactly
 9                        nothing, because the 1983 Assignment can never be terminated.
10          23.    Finch desires a judicial determination of his rights and duties regarding
11    the Compositions, and a declaration that he currently owns fifty percent (50%) of the
12    United States copyright in and to each of the Compositions.
13          24.    Such a judicial determination of the rights and duties of the parties is
14    necessary at this time, in that EMI is currently violating Finch’s rights and has denied
15    Finch the right to own Finch’s portion of the United States copyright in and to the
16    Compositions for the post-termination period. By doing these acts, and unless
17    enjoined from engaging in like behavior in the future, EMI will be allowed to destroy
18    the value and salability of Finch’s portion of the copyrights, in direct contradiction
19    of the second chance guaranteed by the Copyright Act.
20          25.    Moreover, there is an actual and immediate disagreement between EMI
21    and Finch with regard to the ownership of the United States copyright in and to each
22    of the Compositions.
23                                              VII
24                                  PRAYER FOR RELIEF
25          WHEREFORE, plaintiffs pray for judgment as follows:
26          1.     For a declaratory judgment pursuant to § 203 of the Copyright Act, that:
27    (a) Finch’s Notice of Termination served on September 30, 2019 was and is valid
28    and in conformity with the statute and with its attendant regulations; (b) on account
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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 1    of that Notice, Finch has validly terminated the 1983 Assignment; (c) the 1983
 2    Assignment is fully subject to termination; (d) accordingly, Finch is the owner, as of
 3    October 1, 2021, of fifty percent (50%) of all right, title, and interest in and to the
 4    United States copyright for the Compositions, and each of them, including the so-
 5    called “writer’s share” of United States public performance monies collected by
 6    performing rights organizations, including BMI; and (e) EMI, or each of them, shall

 7    not exploit or attempt to exploit any such interests described herein as of October 1,

 8    2021.
              2.   To the extent that EMI collects any income or revenue that belongs to
 9
      Finch (as described in the preceding paragraph), that is, prior to the filing of this
10
      action or during the pendency of this action, for an accounting of such monies, and
11
      payment of those monies over to Finch, at the time of trial or at such time as judgment
12
      is entered in this matter.
13
              3.   For a preliminary and permanent injunction enjoining and restraining
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      EMI, and its agents, servants, directors, officers, principals, employees,
15
      representatives, subsidiaries and affiliated companies, successors, assigns, and those
16
      acting in concert with it or at its direction, and each of them, from continued denial
17
      and disregard of the Notice of Termination served by Finch, to the extent that EMI
18    bases said grounds on the legal and factual issues that are adjudicated in this suit;
19            4.   For costs of suit incurred herein;
20            5.   For reasonable attorney’s fees as part of the costs, pursuant to §505 of
21    the Copyright Act; and
22            6.   For such other and further relief as the court should deem just and
23    proper.
24                                                    COHEN MUSIC LAW
25    Dated: October 8, 2021                          By:   /s/ Evan S. Cohen
                                                            Evan S. Cohen
26
27                                                    Attorneys for Plaintiff Richard R.
28                                                    Finch
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


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 1                               DEMAND FOR JURY TRIAL
 2
 3           To the extent that a jury trial is available as to any of the claims set forth

 4     herein, plaintiff hereby demands a jury trial as to those claims.

 5
 6                                                       COHEN MUSIC LAW
 7     Dated: October 8, 2021                            By:   /s/ Evan S. Cohen
 8                                                             Evan S. Cohen

 9                                                       Attorneys for Plaintiff Richard R.
10                                                       Finch

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